            Case 1:21-cv-00532-SAG Document 42 Filed 04/27/21 Page 1 of 2

                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

          Bryce Carrasco
                        Plaintiff                   *

                    vs.                             *
                                                                Civil Action No.: SAG-21-532
          M&T Bank                                  *
                          Defendant
                                                   *
                                                ******

                                        SCHEDULING ORDER

          The following schedule shall control the progress of the case:

                                             I. Discovery1

          Rule 26(a)(1) initial disclosures are required to be served on opposing parties on or

before May 27, 2021. All depositions and other discovery shall be completed by July 27, 2021.

Interrogatories (a series of written questions to be answered in writing under oath) and requests

for production of documents must be served on the opposing party sufficiently early to insure

that they are answered prior to this discovery deadline.2

                                            II. Status Report

          The parties shall file by July 27, 2021, a status report discussing: (1) whether or not

discovery has been completed; (2) whether or not any motions are pending; (3) whether or not

any party intends to file motions; (4) the anticipated length of trial; and (5) the possibility that the

case will be settled.




1
 Discovery is governed by Fed. R. Civ. P. 26-37 and 45 as well as Local Rule 104 (D. Md.). The
Local Rules of this court and links to the Federal Rules of Civil Procedure may be found on the
court’s web site: www.mdd.uscourts.gov. The court libraries and many local libraries have
copies of these rules for public review. Information on where to purchase printed copies of the
rules is available from the clerk’s office.
2
    Local Rule 104.5 (D. Md.) requires that discovery requests are not to be filed with this Court.
          Case 1:21-cv-00532-SAG Document 42 Filed 04/27/21 Page 2 of 2


                                  III. Summary Judgment Motions

       All motions for summary judgment shall be filed on or before August 26, 2021. These

motions, along with any supporting papers, are filed by either party that chooses to do so

asserting that there is no genuine dispute of material fact in regard to the claims before this

Court. After motions and responses to those motions have been filed, the Court will advise the

parties if a hearing is to be scheduled.

                                      IV. Changes in Schedule

       No changes in the schedule set forth herein will be permitted, unless authorized by the

Court for good cause shown.

                                      V. Service Requirement

       All documents filed with the Court other than the original complaint must bear a

certificate of service stating that each of the parties has been sent a copy of that document.

       The Clerk of the Court SHALL SEND a copy of this Order to the plaintiff pro se and to

defense counsel.



Date: April 27, 2021                                                /s/
                                                      Stephanie A. Gallagher
                                                      United States District Judge




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